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                                                                                                    04/18/2016
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Attorney for WELLS FARGO BANK, N.A.

                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

IN RE:                                                  §   CASE NO. 16-40031-BTR-7
                                                        §
JAMES D GRISHAM and YAMILETH                            §
D GRISHAM,                                              §
   Debtor                                               §   CHAPTER 7
                                                        §
WELLS FARGO BANK, N.A.,                                 §
   Movant                                               §   FINAL HEARING DATE: 04/05/2016
                                                        §
v.                                                      §   TIME: 09:30 AM
                                                        §
JAMES D GRISHAM and YAMILETH                            §
D GRISHAM; MARK A.                                      §
WEISBART, Trustee                                       §
   Respondents                                          §   JUDGE BRENDA T. RHOADES

     AGREED ORDER CONDITIONING AUTOMATIC STAY OF ACTION AGAINST
                   DEBTOR PURSUANT TO 11 U.S.C. § 362

         Came on for consideration the Motion For Relief from Stay, filed by WELLS FARGO

BANK, N.A., (hereinafter "MOVANT"), a secured creditor in the above entitled and numbered

cause. The Court, having considered said Motion and the agreement of counsel, is of the

opinion that the following Agreed Order should be entered. It is therefore, ORDERED,

ADJUDGED, AND DECREED that:

1.               Automatic Stay: The Automatic Stay provided by 11 U.S.C. §362 shall remain

in effect, except as provided below.

2.               Current Monthly Payments: Debtor shall continue to remit to the Movant the

regular post-petition monthly payments beginning May 01, 2016, and continue said payments

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thereafter pursuant to that certain Note and Deed of Trust dated March 02, 2007.

3.               Additional Payments: In addition to the payments set forth above, Debtor shall

cure arrearage and pay attorney's fees and cost in the total amount of $25,114.10. Said total

amount consists of payments for the months of March 01, 2015 through April 01, 2016

additional fees and costs detailed as follows:

           Monthly Payment Amount                          $1,794.49 x 2                             $3,588.98
           Monthly Payment Amount                          $1,793.76 x 12                           $21,525.12
           Late Charges                                              x                                   $0.00
           Attorney's Fees                                                            $0.00
           Costs                                                                      $0.00
           Total Attorney's Fees & Costs                                                                 $0.00
           Amount Due                                                                               $25,114.10
                Payment Received                                                                         $0.00
                Debtor Suspense                                                                          $0.00
           Total Balance Due Less Payment Received                                                  $25,114.10

The total amount due shall be paid directly to Movant at:

                                     WELLS FARGO BANK, N.A.
                                  PMT PROCESSING MAC # X2302-04C
                                            1 HOME CAMPUS
                                        DES MOINES, IA 50328
                                    Attention: Bankruptcy Department

as follows:

Debtors shall remit the total amount on or before or before the time a discharge is

granted or denied, whichever occurs first.

4.               Discharge: Notwithstanding any provision hereof, the automatic stay of 11

U.S.C. §362 shall terminate, if not sooner terminated, upon entry of the Order of Discharge.

5.               Default: In the event Movant does not receive any payments by the dates set

forth in the Current Monthly Payments Paragraph or the Additional Payments Paragraph, the

Automatic Stay shall terminate, if not sooner terminated, as to the Movant without further



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recourse to this Court and Movant shall be allowed to take any and all steps necessary to

exercise any and all rights it may have in the collateral described as follows:

             BEING LOT 9, IN BLOCK 15, OF QUAIL MEADOW VILLAGE, PHASE 1, AN
             ADDITION TO THE CITY OF FRISCO, DENTON COUNTY, TEXAS,
             ACCORDING TO THE MAP THEREOF RECORDED IN CABINET U, PAGE 154,
             OF THE PLAT RECORDS OF DENTON COUNTY, TEXAS.

    IT IS FURTHER STIPULATED that the parties agree that Movant may immediately

enforce and implement this Order granting relief from the automatic stay and that the provision

of Rule 4001(a) (3), Federal Rules of Bankruptcy Procedure, shall not impede the enforcement

and implementation of this Order.

    Additionally, upon default, Movant shall notify the Court, Debtor, Attorney for Debtor, and

Chapter 7 Trustee that the Automatic Stay has been terminated.

    IT IS SO ORDERED.
                                                          Signed on 4/18/2016

                                                                                                    SR
                                            HONORABLE BRENDA T. RHOADES,
                                            UNITED STATES BANKRUPTCY JUDGE




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APPROVED AS TO FORM AND SUBSTANCE:

BARRETT DAFFIN FRAPPIER
TURNER & ENGEL, LLP



BY: /s/ CODY MARTIN                                              /s/ KENNETH HARTER - with permission
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